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UNITED STATES DISTRICT COURT

EASTERN DISTRICT OF LOUISIANA

IN RE: OIL SPILL BY THE OIL
RIG “DEEPWATER HORIZON”
IN THE GULF OF MEXICO

| MDL No.: 2:10-md-2179
|
|
ON APRIL 20, 2010 |
|
|

SECTION “J”

JUDGE BARBIER
Relates to: 2:10-cv-0381 and 2:10-cv-0888

MAGISTRATE JUDGE SHUSHAN

ORDER
This matter having come before the Court on Plaintiffs’ Motion to Remand and the Court
having been fully advised,
IT IS ORDERED that Plaintiffs’ Motion to Remand is hereby GRANTED, and this
action is hereby remanded to the 32" Judicial District Court, Terrebonne Parish, Louisiana.

This day of 2012.

MAGISTRATE JUDGE
